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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

 Joshua M. Hanley,                                )
                                                  )
      Plaintiff,                                  )
                                                  )
                                                  )
 v.
                                                  )
                                                  )    Civil Action No. 3:18-cv-02687-JFA
 Ameris Bank,
                                                  )
                                                  )
      Defendant.
                                                  )
                                                  )
                                                  )
                                                  )

                                    ORDER OF DISMISSAL

       WHEREAS plaintiff Joshua Hanley and defendant Ameris Bank have reached a

settlement of this case; and

       WHEREAS plaintiff Joshua Hanley has moved this Court for an order denying his

pending Motion for Class Certification (ECF No. 68), and dismissing this case with prejudice

pursuant to Federal Rule of Civil Procedure 41(a)(2); and

       WHEREAS defendant Ameris Bank has consented to plaintiff’s motion;

       NOW, THEREFORE, it is ORDERED that:

       a.       Plaintiff’s pending Motion for Class Certification (ECF No. 68) is denied; and

       b.       This case is dismissed with prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(2).


      IT IS SO ORDERED.


      May 1, 2020                                           Joseph F. Anderson, Jr.
      Columbia, South Carolina                              United States District Judge
